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DAVID A. HUBBERT
Deputy Assistant Attorney General

ANTHONY J. IOZZO (New York Bar No. 5402649)
Trial Attorney, Tax Division
U.S. Department of Justice
P.O. Box 683
Washington, D.C. 20044
Telephone: (202) 215-6297
Facsimile: (202) 307-0054
Anthony.Iozzo@usdoj.gov
Western.taxcivil@usdoj.gov

Counsel for the United States of America


                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PENDLETON DIVISION

 UNITED STATES OF AMERICA,
                                                      Case No.
            Plaintiff,
                                                      COMPLAINT FOR FORECLOSURE
            v.                                        OF FEDERAL TAX AND
                                                      JUDGMENT LIENS
 STEVEN J. GAROUTTE; SUSAN M.
 GAROUTTE; STEVEN J. GAROUTTE dba
 SHOWCRAFT INDUSTRIAL; STATE
 ACCIDENT INSURANCE FUND
 CORPORATION; BONNEVILLE BILLING
 AND COLLECTIONS, INC.; OREGON
 DEPARTMENT OF REVENUE; ARTHUR L.
 ROWE; J&L AUTO RESTORATION, INC.; and
 CROOK COUNTY, OREGON,

          Defendants.
 _______________________________________


       The United States of America brings this action to collect outstanding federal tax

liabilities, including statutory additions, owed by Defendants Steven J. Garoutte and Susan M.




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Garoutte by enforcing a federal tax lien and judgment lien against certain real property located in

Prineville, Oregon.

                                    JURISDICTION AND VENUE

        1.     This civil action has been requested by the IRS Chief Counsel, a delegate of the

Secretary of the Treasury, and commenced at the direction of a delegate of the Attorney General

pursuant to 26 U.S.C. § 7401.

        2.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1340 and 1345

and 26 U.S.C. §§ 7402(a) and 7403.

        3.     Venue is proper in the District of Oregon pursuant to 28 U.S.C. §§ 1391 and 1396

because the subject real property is located in this District, the underlying tax liabilities accrued

in this District, and the underlying tax returns were filed in this District.

                                              PARTIES

        4.     The Plaintiff is the United States of America.

        5.     Defendant Steven J. Garoutte is an individual who maintains an address at 23354

Judge Avenue, Punta Gorda, FL 33980-4823. Defendant Steven J. Garoutte owns real property

located at 1942 Northwest Industrial Park Road, Prineville, Oregon 97754 (“the Subject

Property”), described in Paragraph 13 below.

        6.     Defendant Susan M. Garoutte is an individual who maintains an address at 241

Northwest Greenwood Avenue, Redmond, Oregon 97756-1563, and may have or claim an

interest in the Subject Property.

        7.     Defendant State Accident Insurance Fund Corporation is an entity headquartered in

Salem, Oregon, and may have or claim an interest in the Subject Property.




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       8.     Defendant Bonneville Billing and Collections, Inc. is an entity headquartered in

Ogden, Utah, and may have or claim an interest in the Subject Property.

       9.     Defendant Oregon Department of Revenue is an entity headquartered in Salem,

Oregon, and may have or claim an interest in the Subject Property.

       10.    Defendant Arthur L. Rowe is an individual who maintains an address at 4961

Southeast Sioux Loop, Prineville, Oregon, 97754-8965, and may have or claim an interest in the

Subject Property.

       11.    Defendant J&L Auto Restoration, Inc. is an entity headquartered in Prineville,

Oregon, and may have or claim an interest in the Subject Property.

       12.    Defendant Crook County, Oregon, is an entity headquartered in Prineville, Oregon,

and may have or claim an interest in the Subject Property.

                                     SUBJECT PROPERTY

       13.    The Subject Property is located at 1942 Northwest Industrial Park Road, Prineville,

Oregon 97754, and is more particularly described as:

              Parcel Two (2) of Partition Plat No. 1991-23 recorded October 17, 1991 in
              Partitions Microfilm No. 101438, Records of Crook County, Oregon, being a
              portion of Lot Three (3) of Prineville Industrial Park Subdivision.

       14.    Defendant Steven J. Garoutte entered into a land sale contract for the Subject

Property, which was recorded in Crook County, Oregon on March 13, 2001. Defendant Steven J.

Garoutte was later granted the Subject Property through a special warranty deed, which was

recorded in Crook County, Oregon on March 1, 2021.

       15.    The United States may foreclose the interests of Defendant Steven J. Garoutte in the

Subject Property to satisfy his individual tax liabilities dba Showcraft Industrial and joint and

several tax liabilities with Defendant Susan M. Garoutte.




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                                     FEDERAL TAX LIEN

       16.    The IRS made an assessment for federal income taxes against Steven J. Garoutte

and Susan M. Garoutte for tax year 2003 on November 8, 2004, pursuant to 26 U.S.C. §§ 6321

and 6322.

       17.    Penalties and interest have accrued and will continue to accrue on the unpaid

assessment until paid in full pursuant to 26 U.S.C. §§ 6601, 6621, and 6622. The total balance

and accruals of the assessment as of April 15, 2024, is $7,942.47.

       18.    A federal tax lien arose against all property and rights to property owned by

Defendants Steven J. Garoutte and Susan M. Garoutte upon the assessment for federal income

taxes for tax year 2003 on November 8, 2004.

       19.    The federal tax lien arose and attached to Defendant Steven J. Garoutte’s interest in

the Subject Property on November 8, 2004.

       20.    The IRS recorded notice of the federal tax lien against Defendants Steven J.

Garoutte and Susan M. Garoutte in Crook County, Oregon, on December 6, 2004, pursuant to 26

U.S.C. § 6323(a).

       21.    The IRS timely refiled notice of the federal tax lien against Defendants Steven J.

Garoutte and Susan M. Garoutte in Crook County, Oregon, on November 10, 2014, pursuant to

26 U.S.C. § 6323(g)(3).

       22.    The federal tax lien continues to attach to Defendant Steven J. Garoutte’s interest in

the Subject Property.

       23.    The United States of America, by virtue of the federal tax lien that encumbers the

Subject Property, is entitled to have the lien foreclosed and the Subject Property sold.




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                                        JUDGMENT LIEN

       24.   On June 27, 2006, judgment was entered in favor of the United States and jointly

and severally against Defendants Steven J. Garoutte and Susan M. Garoutte in the amount of

$214,227.90 for unpaid federal income tax assessments for 1994, 1996, 1997, 1998, 1999, 2000,

2001, 2002, and 2003, as well as against Steven J. Garoutte dba Showcraft Industrial in the

amount of $28,483.52 for unpaid federal employment and unemployment tax assessments for

several quarterly periods between December 1998 and September 2003. The judgment included

statutory additions arising after May 5, 2006, pursuant to 26 U.S.C. §§ 6601, 6621, and 6622 and

28 U.S.C. § 1961(c)(1), until the judgment is paid in full. See United States of America v.

Garoutte, et al., Case No. 3:06-cv-00134-KI (D. Or. June 27, 2006).

       25.   The judgment created a judgment lien in favor of the United States that attached to

the Subject Property when recorded in Crook County, Oregon, pursuant to 28 U.S.C. § 3201(a).

The United States recorded Abstracts of Judgment in Crook County, Oregon, against Defendant

Steven J. Garoutte on or about August 22, 2006, and against Defendant Steven J. Garoutte dba

Showcraft Industries on or about August 31, 2006. The United re-recorded the latter Abstract of

Judgment against Defendant Steven J. Garoutte dba Showcraft Industries and an Abstract of

Judgement against Defendants Steven J. Garoutte and Susan M. Garoutte on or about June 27,

2011. The judgment lien has priority over all other liens and encumbrances recorded later in time

pursuant to 28 U.S.C. § 3201(b).

          CLAIM FOR ENFORCEMENT OF FEDERAL TAX LIEN AND JUDGMENT
                     LIEN AGAINST THE SUBJECT PROPERTY

       26.   The United States incorporates all previous paragraphs.

       27.   The United States is entitled to enforce its federal tax lien and judgment lien against

the Subject Property. The Subject Property should be sold free and clear of all rights, titles, liens,



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and interests of the parties to this action, with an appropriate portion of the net proceeds to be

distributed to the United States for the unpaid federal tax liabilities of Defendants Steven J.

Garoutte and Susan M. Garoutte and to the other parties in accordance with the law.

                                        PRAYER FOR RELIEF

          WHEREFORE, the United States respectfully prays that this Court:

          A.     Determine that, based on the assessment for federal income taxes for tax year 2003,

the United States holds a valid and subsisting tax lien against all real property in Crook County

belonging to Defendants Steven J. Garoutte and Susan M. Garoutte, including the Subject

Property;

          B.     Determine that the United States, based on the judgment in United States of

America v. Garoutte, et al., Case No. 3:06-cv-00134-KI (D. Or. June 27, 2006), and the filing of

an abstract of judgment, has a valid and subsisting judgment lien against all real property in

Crook County belonging to Defendants Steven J. Garoutte and Susan M. Garoutte, including the

Subject Property;

          C.     Order that the tax lien and judgment lien of the United States be foreclosed against

the Subject Property described in paragraph 13 above; that the Subject Property be sold; and that

the proceeds from the sale be distributed to the United States and to other parties according to the

respective priorities of their liens and interests in the Subject Property;

          D.     That the United States be awarded its costs and such other relief as is just and

proper.

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Respectfully submitted,
Dated: August 21, 2024

                                           DAVID A. HUBBERT
                                           Deputy Assistant Attorney General

                                           /s/ Anthony J. Iozzo
                                           ANTHONY J. IOZZO
                                           Trial Attorney, Tax Division
                                           U.S. Department of Justice
                                           P.O. Box 683
                                           Washington, D.C. 20044
                                           Telephone: (202) 215-6297
                                           Facsimile: (202) 307-0054
                                           Anthony.Iozzo@usdoj.gov
                                           Western.taxcivil@usdoj.gov

                                           Counsel for the United States of America




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